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 Counsel for Plaintiffs and Putative Class

                       UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH

  SHANNON             ARNSTEIN;        DANA   Case No.   2:24-cv-00344-RJS
  BASSETT;        MARTIKA          GARTMAN;
  SUELLEN           HENDRIX;          DEBRA
  MACKLIN;             JEANINE        MARK;   FIRST AMENDED CLASS
  MICHELLE          MEINHOLD;         MARIE   ACTION COMPLAINT
  MICHELS; JILLI OYENQUE; BARBARA             (JURY TRIAL DEMANDED)
  PORTER; and ELIZABETH WUEBKER,
  individually and on behalf of all others
  similarly situated,
                       Plaintiffs,
        v.

  SUNDANCE HOLDINGS GROUP,
  L.L.C.,
              Defendant.
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       Shannon Arnstein (“Plaintiff Arnstein”), Dana Bassett (“Plaintiff Bassett”),

 Martika Gartman (“Plaintiff Gartman”), Suellen Hendrix (“Plaintiff Hendrix”),

 Debra Macklin (“Plaintiff Macklin”), Jeanine Mark (“Plaintiff Mark”), Michelle

 Meinhold (“Plaintiff Meinhold”), Marie Michels (“Plaintiff Michels”), Jilli Oyenque

 (“Plaintiff Oyenque”), Barbara Porter (“Plaintiff Porter”), and Elizabeth Wuebker

 (“Plaintiff Wuebker”) (collectively, “Plaintiffs”), individually and on behalf of all

 others similarly situated, make the following allegations pursuant to the

 investigation of their counsel and based upon information and belief, except as to

 allegations specifically pertaining to themselves and their counsel, which are based

 on personal knowledge.

                                  INTRODUCTION
       1.     Defendant Sundance Holdings Group, L.L.C. (“Sundance”) rented,

 sold, and/or otherwise disclosed for compensation detailed information about

 Plaintiffs’ purchases of Sundance products—including their full names, home

 addresses, the fact that they are Sundance customers, and the products and the dollar

 amount of the products they purchased (collectively “Private Purchase

 Information”)—to data aggregators, data appenders, data cooperatives, list brokers,

 aggressive advertisers, direct-marketing companies, political organizations, non-

 profit companies, and various other third parties. As a result, Plaintiffs have received

 a barrage of unwanted junk mail. By renting, selling, and/or otherwise disclosing


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 for compensation Plaintiffs’ Private Purchase Information, without providing

 Plaintiffs prior notice of these disclosures, Sundance violated Utah’s Notice of Intent

 to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-37 (the

 “NISNPIA”).

       2.     Documented evidence confirms these facts. For example, on the

 website of Nextmark, Inc. (“Nextmark“), Sundance offers to sell or rent, to any

 member of the public interested in purchasing it, the “Sundance Catalog Mailing

 List”, which as of May 2024 contained the Private Purchase Information of 552,441

 of Sundance’s recent U.S. purchasers, at a base price of “$120.00/M [per thousand],”

 i.e., 12 cents apiece, as shown in the screenshot below:




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 See Exhibit A hereto.

       3.     By renting, selling, or otherwise disclosing for compensation the

 Private Purchase Information of its customers to third parties, without providing its


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 customers prior notice of such practices, Sundance violated the NISNPIA.

 Subsection 2 of the NISNPIA provides:

              A commercial entity may not disclose nonpublic personal
              information that the commercial entity obtained on or after
              January 1, 2004, as a result of a consumer transaction if
              the commercial entity fails to comply with [the provisions
              requiring that prior notice of such disclosures be provided
              to the consumer, as set forth in] Section 13-37-201.

 Utah Code Ann. § 13-37-202(1).

       4.     Accordingly, Plaintiffs bring this First Amended Class Action

 Complaint against Sundance for its intentional, systematic, and unlawful conduct in

 violation of the NISNPIA.

                              NATURE OF THE CASE

       5.     To supplement its revenues, Sundance rents, sells and otherwise

 discloses for compensation all of its customers’ Private Purchase Information

 (including their full names, home addresses, the fact that they are Sundance

 customers, and the products and the dollar amount of the products they purchased)—

 as well as myriad other categories of individualized data and demographic

 information such as gender, religion, and ethnicity—to data aggregators, data

 appenders, data cooperatives, and other third parties without providing prior notice

 to (let alone obtaining the consent of) its customers.

       6.     Sundance’s disclosures of Private Purchase Information and other

 individualized information is not only unlawful, but also dangerous because it allows
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 for the targeting of particular members of society. For example, anyone could

 purchase from Sundance a list containing the names and addresses of all Asian

 women in California over the age of 60 who are members of the Christian religion

 and who purchased more than $200 worth of products from Sundance. Such a list is

 available for sale for approximately $210.00 per thousand customers listed.

         7.       While Sundance profits handsomely from the unauthorized rentals,

 sales, and other compensation-driven disclosures of its customers’ Private Purchase

 Information, it does so at the expense of its customers’ statutory privacy rights

 (afforded by the NISNPIA) because Sundance does not provide any notice of such

 disclosures to its customers (much less obtain their consent) prior to disclosing their

 Private Purchase Information to third parties for compensation.

                                         PARTIES

    I.         Plaintiff Arnstein

         8.       Plaintiff Arnstein is a natural person and a citizen and resident of

 Muncie, Indiana.

         9.       On or after January 1, 2004, including on or about April 26, 2024,

 Plaintiff Arnstein purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

         10.      Prior to and at the time Plaintiff Arnstein made her purchases, Sundance

 did not notify Plaintiff Arnstein that it discloses the Private Purchase Information of


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 its customers, and Plaintiff Arnstein has never authorized Sundance to do so.

 Furthermore, Plaintiff Arnstein was never provided any written notice that Sundance

 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

          11.      Sundance completed its sales of goods to Plaintiff Arnstein by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Arnstein from a location within Utah.

          12.      After completing these sales to Plaintiff Arnstein, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Arnstein the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Arnstein’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    II.         Plaintiff Bassett

          13.      Plaintiff Bassett is a natural person and a citizen and resident of Eugene,

 Oregon.

          14.      On or after January 1, 2004, including on or about February 22, 2024,

 Plaintiff Bassett purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

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       15.     Prior to and at the time Plaintiff Bassett made her purchases, Sundance

 did not notify Plaintiff Bassett that it discloses the Private Purchase Information of

 its customers, and Plaintiff Bassett has never authorized Sundance to do so.

 Furthermore, Plaintiff Bassett was never provided any written notice that Sundance

 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

       16.     Sundance completed its sales of goods to Plaintiff Bassett by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Bassett from a location within Utah.

       17.     After completing these sales to Plaintiff Bassett, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Bassett the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Bassett’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    III.     Plaintiff Gartman

       18.     Plaintiff Gartman is a natural person and a citizen and resident of

 Westmont, Illinois.




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       19.    On or after January 1, 2004, including on or about July 16, 2023,

 Plaintiff Gartman purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       20.    Prior to and at the time Plaintiff Gartman made her purchases,

 Sundance did not notify Plaintiff Gartman that it discloses the Private Purchase

 Information of its customers, and Plaintiff Gartman has never authorized Sundance

 to do so. Furthermore, Plaintiff Gartman was never provided any written notice that

 Sundance rents, sells, or otherwise discloses for compensation its customers’ Private

 Purchase Information, or any means of opting out.

       21.    Sundance completed its sales of goods to Plaintiff Gartman by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Gartman from a location within Utah.

       22.    After completing these sales to Plaintiff Gartman, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Gartman the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Gartman’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.




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    IV.      Plaintiff Hendrix

       23.     Plaintiff Hendrix is a natural person and a citizen and resident of

 Danforth, Maine.

       24.     On or after January 1, 2004, including on or about May 26, 2023,

 Plaintiff Hendrix purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       25.     Prior to and at the time Plaintiff Hendrix made her purchases, Sundance

 did not notify Plaintiff Hendrix that it discloses the Private Purchase Information of

 its customers, and Plaintiff Hendrix has never authorized Sundance to do so.

 Furthermore, Plaintiff Hendrix was never provided any written notice that Sundance

 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

       26.     Sundance completed its sales of goods to Plaintiff Hendrix by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Hendrix from a location within Utah.

       27.     After completing these sales to Plaintiff Hendrix, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Hendrix the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Hendrix’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

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 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    V.         Plaintiff Macklin

         28.     Plaintiff Macklin is a natural person and a citizen and resident of

 Alexandria, Virginia.

         29.     On or after January 1, 2004, including on or about December 31, 2023,

 Plaintiff Macklin purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

         30.     Prior to and at the time Plaintiff Macklin made her purchases, Sundance

 did not notify Plaintiff Macklin that it discloses the Private Purchase Information of

 its customers, and Plaintiff Macklin has never authorized Sundance to do so.

 Furthermore, Plaintiff Macklin was never provided any written notice that Sundance

 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

         31.     Sundance completed its sales of goods to Plaintiff Macklin by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Macklin from a location within Utah.

         32.     After completing these sales to Plaintiff Macklin, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Macklin the prior notice required by Utah

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 Code Ann. § 13-37-201, Plaintiff Macklin’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    VI.      Plaintiff Mark

       33.     Plaintiff Mark is a natural person and a citizen and resident of

 Springville, California.

       34.     On or after January 1, 2004, including on or about November 26, 2023,

 Plaintiff Mark purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       35.     Prior to and at the time Plaintiff Mark made her purchases, Sundance

 did not notify Plaintiff Mark that it discloses the Private Purchase Information of its

 customers, and Plaintiff Mark has never authorized Sundance to do so. Furthermore,

 Plaintiff Mark was never provided any written notice that Sundance rents, sells, or

 otherwise discloses for compensation its customers’ Private Purchase Information,

 or any means of opting out.

       36.     Sundance completed its sales of goods to Plaintiff Mark by shipping the

 goods she purchased to the address she provided in her order. Sundance shipped the

 goods purchased by Plaintiff Mark from a location within Utah.




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       37.    After completing these sales to Plaintiff Mark, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Mark the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Mark’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    VII. Plaintiff Meinhold

       38.    Plaintiff Meinhold is a natural person and a citizen and resident of

 Fresno, California.

       39.    On or after January 1, 2004, including on or about March 20, 2024,

 Plaintiff Meinhold purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       40.    Prior to and at the time Plaintiff Meinhold made her purchases,

 Sundance did not notify Plaintiff Meinhold that it discloses the Private Purchase

 Information of its customers, and Plaintiff Meinhold has never authorized Sundance

 to do so. Furthermore, Plaintiff Meinhold was never provided any written notice

 that Sundance rents, sells, or otherwise discloses for compensation its customers’

 Private Purchase Information, or any means of opting out.

       41.    Sundance completed its sales of goods to Plaintiff Meinhold by

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 shipping the goods she purchased to the address she provided in her order. Sundance

 shipped the goods purchased by Plaintiff Meinhold from a location within Utah.

       42.    After completing these sales to Plaintiff Meinhold, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Meinhold the prior notice required by

 Utah Code Ann. § 13-37-201, Plaintiff Meinhold’s Private Purchase Information to

 data aggregators, data appenders, data cooperatives, list brokers, aggressive

 advertisers, direct-marketing companies, political organizations, non-profit

 companies, and other third parties.

    VIII. Plaintiff Michels

       43.    Plaintiff Michels is a natural person and a citizen and resident of

 Missoula, Montana.

       44.    On or after January 1, 2004, including on or about December 21, 2023,

 Plaintiff Michels purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       45.    Prior to and at the time Plaintiff Michels made her purchases, Sundance

 did not notify Plaintiff Michels that it discloses the Private Purchase Information of

 its customers, and Plaintiff Michels has never authorized Sundance to do so.

 Furthermore, Plaintiff Michels was never provided any written notice that Sundance




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 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

       46.     Sundance completed its sales of goods to Plaintiff Michels by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Michels from a location within Utah.

       47.     After completing these sales to Plaintiff Michels, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Michels the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Michels’ Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    IX.      Plaintiff Oyenque

       48.     Plaintiff Oyenque is a natural person and a citizen and resident of

 Arroyo Grande, California.

       49.     On or after January 1, 2004, including on or about July 10, 2023,

 Plaintiff Oyenque purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

       50.     Prior to and at the time Plaintiff Oyenque made her purchases,

 Sundance did not notify Plaintiff Oyenque that it discloses the Private Purchase

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 Information of its customers, and Plaintiff Oyenque has never authorized Sundance

 to do so. Furthermore, Plaintiff Oyenque was never provided any written notice that

 Sundance rents, sells, or otherwise discloses for compensation its customers’ Private

 Purchase Information, or any means of opting out.

         51.      Sundance completed its sales of goods to Plaintiff Oyenque by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Oyenque from a location within Utah.

         52.      After completing these sales to Plaintiff Oyenque, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Oyenque the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Oyenque’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    X.         Plaintiff Porter

         53.      Plaintiff Porter is a natural person and a citizen and resident of Arroyo

 Grande, California.

         54.      On or after January 1, 2004, including on or about December 5, 2023,

 Plaintiff Porter purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

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       55.     Prior to and at the time Plaintiff Porter made her purchases, Sundance

 did not notify Plaintiff Porter that it discloses the Private Purchase Information of its

 customers, and Plaintiff Porter has never authorized Sundance to do so.

 Furthermore, Plaintiff Porter was never provided any written notice that Sundance

 rents, sells, or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

       56.     Sundance completed its sales of goods to Plaintiff Porter by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Porter from a location within Utah.

       57.     After completing these sales to Plaintiff Porter, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Porter the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Porter’s Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    XI.      Plaintiff Wuebker

          58. Plaintiff Wuebker is a natural person and a citizen and resident of

 Austin, Minnesota.

          59. On or after January 1, 2004, including on or about July 29, 2023,

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 Plaintiff Wuebker purchased consumer products from Sundance on its website,

 www.sundancecatalog.com.

         60. Prior to and at the time Plaintiff Wuebker made her purchases,

 Sundance did not notify Plaintiff Wuebker that it discloses the Private Purchase

 Information of its customers, and Plaintiff Wuebker has never authorized Sundance

 to do so. Furthermore, Plaintiff Wuebker was never provided any written notice that

 Sundance rents, sells, or otherwise discloses for compensation its customers’ Private

 Purchase Information, or any means of opting out.

         61. Sundance completed its sales of goods to Plaintiff Wuebker by shipping

 the goods she purchased to the address she provided in her order. Sundance shipped

 the goods purchased by Plaintiff Wuebker from a location within Utah.

         62. After completing these sales to Plaintiff Wuebker, and during the

 applicable statutory period, Sundance sold, rented, or otherwise disclosed for

 compensation, without providing Plaintiff Wuebker the prior notice required by Utah

 Code Ann. § 13-37-201, Plaintiff Wuebker Private Purchase Information to data

 aggregators, data appenders, data cooperatives, list brokers, aggressive advertisers,

 direct-marketing companies, political organizations, non-profit companies, and

 other third parties.

    XII. Defendant Sundance Holdings Group, L.L.C.

       63.    Defendant Sundance Holdings Group, L.L.C. is a limited liability

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 company, organized and existing under the laws of the State of Delaware, that

 maintains its headquarters and principal place of business at 3865 W 2400 South,

 Salt Lake City, UT 84120.

       64.    Sundance is a specialty retailer that sells a variety of clothing and other

 household products to consumers.

                           JURISDICTION AND VENUE

       65.     This Court has subject matter jurisdiction over this civil action

 pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

 the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

 and costs, and at least one Class member is a citizen of a state different from

 Sundance.

       66.     The Court has personal jurisdiction over Sundance and venue is proper

 in this judicial District because Sundance maintains its headquarters and principal

 place of business in Salt Lake City, Utah, within this judicial District.

                            FACTUAL BACKGROUND

        Utah’s Notice of Intent to Sell Nonpublic Personal Information Act

       67.    Pursuant to the NISNPIA, “[a] commercial entity may not disclose

 nonpublic personal information that the commercial entity obtained on or after

 January 1, 2004, as a result of a consumer transaction if the commercial entity fails

 to comply with Section 13-37-201.” Utah Code Ann. § 13-37-202.


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       68.     A “commercial entity” is a person that “has an office or other place of

 business located in [Utah]” and “in the ordinary course of business transacts a

 consumer transaction in [Utah].” Id. § 13-37-102(2)(a).

       69.    “Consumer transaction” means, inter alia, “a sale, lease, assignment,

 award by chance, or other written or oral transfer or disposition . . . of[] goods[,]

 services[,] or other tangible or intangible property, . . . that is initiated or completed

 in [Utah].” Id. § 13-37-102(4)(a)(i).

       70.    “Nonpublic personal information” means “information that . . . is not

 public information” and, “either alone or in conjunction with public information,

 identifies a person in distinction from other persons.” Id. § 13-37-102(5)(a).

 “Nonpublic personal information” expressly includes, inter alia, “the purchasing

 patterns of a person” or “the personal preferences of a person.” Id. § 13-37-

 102(5)(b)(iii)-(iv).

       71.    A commercial entity “is considered to have obtained information as a

 result of a consumer transaction if . . . the person provides the information to the

 commercial entity . . . at any time during the consumer transaction . . . and at the

 request of the commercial entity,” or if “the commercial entity otherwise obtains the

 information . . . and but for the consumer transactions, the commercial entity would

 not obtain the information.” Id. § 13-37-201(1)(b).

       72.    Section 13-37-201 of the NISNPIA requires a commercial entity to


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 provide the consumer with a notice, in the form set forth in that section, if

 “the commercial entity enters into a consumer transaction with that person[,]” “as a

 result of the consumer transaction . . . , the commercial entity obtains nonpublic

 personal information concerning that person[,] and “the commercial entity intends

 to or wants the ability to disclose the nonpublic personal information . . . to a third

 party . . . for compensation,” where such compensation “is the primary consideration

 for the commercial entity disclosing the nonpublic personal information,” is

 “directly related to the commercial entity disclosing the nonpublic personal

 information,” and “is not compensation received by the commercial entity in

 consideration of a transaction [wherein a third party provides the commercial entity

 with: “(i) services, including business outsource services; (ii) personal or real

 property; or (iii) other thing of value”]).” Id. § 13-37-201(1)(a); § 13-37-201(5).

       73.    The notice required by section 13-37-201 of the NISNPIA “shall read

 substantially as follows: ‘We may choose to disclose nonpublic personal

 information about you, the consumer, to a third party for compensation.” ).” Id. §

 13-37-201(3)(a). The notice may be provided either “orally, if the consumer

 transaction itself is entirely conducted orally[,] or . . . in writing, if the notice is

 written in dark bold.” Id. § 13-37-201(3)(b). In either case, the notice “shall be

 sufficiently conspicuous so that a reasonable person would perceive the notice

 before providing the nonpublic personal information.” Id. § 13-37-201(3)(c). The


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 notice “shall be given before the earlier of . . . the point at which the person is

 requested to provide the nonpublic personal information[] or . . . the commercial

 entity otherwise obtains the nonpubllic personal information as a result of the

 consumer transaction[.]” Id. § 13-37-201(2).

       74.    The NISNPIA entitles consumers who suffer violations of the statute

 to recover, inter alia, “$500 for each time the commercial entity fails to provide the

 notice required by this section in relation to the nonpublic personal information of

 the person who brings the action.” Id. § 13-37-203.

       75.    Despite the fact Sundance has completed hundreds of thousands of

 sales of its products in Utah, Sundance disregarded its legal responsibilities to its

 customers by systematically disclosing their Private Purchase Information to third

 parties for compensation, in clear violation of the NISNPIA.

                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

       76.    In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 Swindle remarked that “the digital revolution . . . has given an enormous capacity

 to the acts of collecting and transmitting and flowing of information, unlike anything

 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being




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 defined by the existing data on themselves.”1

       77.    More than two decades later, Commissioner Swindle’s comments ring

 truer than ever, as consumer data feeds an information marketplace that supports a

 $26 billion dollar per year online advertising industry in the United States.2

       78.    The FTC has also recognized that consumer data possesses inherent

 monetary value within the new information marketplace and publicly stated that:

              Most consumers cannot begin to comprehend the types
              and amount of information collected by businesses, or why
              their information may be commercially valuable. Data is
              currency. The larger the data set, the greater potential for
              analysis—and profit.3

       79.    In fact, an entire industry exists while companies known as data

 aggregators purchase, trade, and collect massive databases of information about

 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”


 1
        Exhibit B, The Information Marketplace: Merging and Exchanging
 Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
 https://www.ftc.gov/sites/default/files/documents/public_events/information-
 marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
 July 30, 2021).
 2
         See Exhibit C, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
 http://online.wsj.com/article/SB10001424052748703529004576160764037920274
 .html (last visited July 30, 2021).

 3
         Exhibit D, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
 2009),                at                 2,             available                at
 https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
 exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
 2021) (emphasis added).
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 information in an open and largely unregulated market.4

       80.    The scope of data aggregators’ knowledge about consumers is

 immense: “If you are an American adult, the odds are that [they] know[] things like

 your age, race, sex, weight, height, marital status, education level, politics, buying

 habits, household health worries, vacation dreams—and on and on.”5

       81.    Further, “[a]s use of the Internet has grown, the data broker industry

 has already evolved to take advantage of the increasingly specific pieces of

 information about consumers that are now available.”6

       82.    Recognizing the serious threat the data mining industry poses to

 consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

 Partisan Privacy Caucus sent a letter to nine major data brokerage companies

 seeking information on how those companies collect, store, and sell their massive



 4
      See Exhibit E, Martha C. White, Big Data Knows What You’re Doing Right
 Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
 knows-what-youre-doing-right-now/ (last visited July 30, 2021).
 5
        Exhibit F, Natasha Singer, You for Sale: Mapping, and Sharing, the
 Consumer Genome, N.Y. Times (June 16, 2012), available at
 https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
 6S.pdf (last visited July 30, 2021).
 6
        Exhibit G, Letter from Senator John D. Rockefeller IV, Chairman, Senate
 Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
 Executive      Officer,    Acxiom     (Oct.     9,   2012)     available    at
 http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
 4157-a97b-a658c3c3061c (last visited July 30, 2021).

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 collections of consumer data.7

       83.     In their letter, the co-Chairmen recognized that “[b]y combining data

 from numerous offline and online sources, data brokers have developed hidden

 dossiers on every U.S. consumer,” which “raises a number of serious privacy

 concerns.”8

       84.     Data aggregation is especially troublesome when consumer

 information is sold to direct-mail advertisers. In addition to causing waste and

 inconvenience, direct-mail advertisers often use consumer information to lure

 unsuspecting consumers into various scams,9 including fraudulent sweepstakes,

 charities, and buying clubs. Thus, when companies like Sundance share information

 with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

 to the “[v]ast databases” of consumer data that are often “sold to thieves by large

 publicly traded companies,” which “put[s] almost anyone within the reach of




 7
         See Exhibit H, Bipartisan Group of Lawmakers Query Data Brokers About
 Practices Involving Consumers’ Personal Information, Website of Senator Ed
 Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
 releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
 involving-consumers-personal-information (last visited July 30, 2021).
 8
        Id.

 9
      See   Exhibit    I,   Prize     Scams,     Federal    Trade      Commission,
 http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

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 fraudulent telemarketers” and other criminals.10

       85.    Information disclosures like those made by Sundance are particularly

 dangerous to the elderly. “Older Americans are perfect telemarketing customers,

 analysts say, because they are often at home, rely on delivery services, and are lonely

 for the companionship that telephone callers provide.”11 The FTC notes that “[t]he

 elderly often are the deliberate targets of fraudulent telemarketers who take

 advantage of the fact that many older people have cash reserves or other assets to

 spend on seemingly attractive offers.”12 Indeed, an entire black market exists where

 the private information of vulnerable elderly Americans is exchanged.

       86.    Thus, information disclosures like Sundance’s are particularly

 troublesome because of their cascading nature: “Once marked as receptive to [a

 specific] type of spam, a consumer is often bombarded with similar fraudulent offers




 10
        Exhibit J, Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y.
 Times,            May          20,            2007,            available          at
 http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
 2021).

 11
       Id.

 12
        Exhibit K, Fraud Against Seniors: Hearing before the Senate Special
 Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
 at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
 statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
 visited July 30, 2021).

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 from a host of scam artists.”13

           87.   Sundance is not alone in jeopardizing its customers’ privacy and well-

 being in exchange for increased revenue: disclosing customer information to data

 aggregators, data appenders, data cooperatives, direct marketers, and other third

 parties is a widespread practice in the consumer-products industries.

           88.   Thus, as consumer data has become an ever-more valuable commodity,

 the data mining industry has experienced rapid and massive growth. Unfortunately

 for consumers, this growth has come at the expense of their most basic privacy

 rights.

                     Consumers Place Monetary Value on their Privacy and
                      Consider Privacy Practices When Making Purchases

           89.   As the data aggregation and cooperative industry has grown, so too

 have consumer concerns regarding the privacy of their information.

           90.   A recent survey conducted by Harris Interactive on behalf of TRUSTe,

 Inc. showed that 89 percent of consumers polled avoid doing business with

 companies who they believe do not protect their privacy online.14 As a result, 81

 percent of smartphone users polled said that they avoid using smartphone apps that


 13
           See id.

 14
      See Exhibit L, 2014 TRUSTe US Consumer Confidence Privacy Report,
 TRUSTe,http://www.theagitator.net/wpcontent/uploads/012714_ConsumerConfide
 nceReport_US1.pdf (last visited July 30, 2021).

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 they don’t believe protect their privacy online.15

       91.    Thus, as consumer privacy concerns grow, consumers are increasingly

 incorporating privacy concerns and values into their purchasing decisions and

 companies viewed as having weaker privacy protections are forced to offer greater

 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors.

       92.    In fact, consumers’ private information has become such a valuable

 commodity that companies are beginning to offer individuals the opportunity to sell

 their information themselves.16

       93.    These companies’ business models capitalize on a fundamental tenet

 underlying the consumer information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent

 policies of protecting their data.17


 15
       Id.

 16
        See Exhibit M, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
 Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
 http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
 price-on-their-personal-data.html (last visited July 30, 2021).

 17
       See Exhibit N, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
 Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
 254, 254 (2011); see also European Network and Information Security Agency,

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       94.    Thus, in today’s economy, individuals and businesses alike place a real,

 quantifiable value on consumer data and corresponding privacy rights.18

            Sundance Unlawfully Rents, Sells, and Otherwise Discloses
          for Compensation Its Customers’ Private Purchase Information

       95.    Sundance maintains a vast digital database comprised of its customers’

 Private Purchase Information.

       96.    Sundance discloses for compensation its customers’ Private Purchase

 Information to data aggregators and appenders, who then supplement that

 information with additional sensitive private information about each Sundance

 customer, including his or her gender, age, religion, and ethnicity. (See, e.g.,

 Exhibit A). The “enhanced” customer lists that Sundance receives back from the

 data aggregators and data appenders are more valuable to Sundance than its original

 customer lists, and can be sold or rented by Sundance to other third parties for more

 money than its original customer lists. In this way, Sundance increases its profits

 gained from its sales and rentals of its customer lists.



 Study      on    monetising    privacy     (Feb.     27,     2012),    available   at
 https://www.enisa.europa.eu/activities/identity-and-
 trust/library/deliverables/monetising-privacy (last visited July 30, 2021).

 18
        See Exhibit O, Hann, et al., The Value of Online Information Privacy: An
 Empirical       Investigation     (Oct.     2003)       at     2,    available    at
 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
 pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
 value online privacy. It is obvious that people value online privacy.”).
                                           29
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       97.   Sundance also discloses for compensation its customers’ Private

 Purchase Information to data cooperatives, who in turn disclose or otherwise make

 available to Sundance their own customer list databases. These third-party customer

 list databases contain information that is valuable to Sundance, as they enable

 Sundance to identify prospective customers (i.e., “prospects”) to whom it can send

 advertisements and other offers to sell its tangible and/or intangible property, and

 with whom it can ultimately enter into consumer transactions with and generate

 revenue from.

       98.   Additionally, Sundance sells, rents, and/or otherwise discloses for

 compensation its customer lists—which include all of its customers’ Private

 Purchase Information, identifying which individuals purchased Sundance’s

 products, which products they purchased, and the dollar amount of their purchases,

 and can include the sensitive information (such as gender, age, ethnicity, and

 religion) obtained from data aggregators and appenders—to numerous other third

 parties, including other consumer-facing companies, aggressive direct-mail

 advertisers, and organizations soliciting monetary contributions, volunteer work,

 and votes. (See Exhibit A).

       99.   As a result of Sundance’s data compiling and sharing practices,

 companies can purchase, rent, or otherwise obtain for compensation customer lists

 from Sundance that identify Sundance’s customers by their most intimate details,


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 including the fact that they purchased Sundance products, which products they

 purchased and the dollar amount of their purchases, as well as their gender, age,

 religion, and ethnicity.   Sundance’s disclosure of such sensitive and private

 information, to any member of the public interested in purchasing it, is invasive of

 its customers’ (including Plaintiffs’ and Class members) privacy and intrusive upon

 their private affairs and concerns in a way that the average person would find highly

 offensive. Sundance’s disclosures also put its customers at risk of serious harm from

 scammers.

       100. Sundance fails to provide prior notice of these disclosures to its

 customers as required by Utah Code Ann. 13-37-201, let alone obtain its customers’

 consent prior to making such disclosures, and its customers remain unaware that

 their Private Purchase Information and other sensitive information is being rented,

 sold, and otherwise disclosed for compensation on the open market.

       101. Since January 1, 2004, Sundance has offered its products for sale

 through various sales channels, including in its catalogs and on its website.

 Regardless whether a consumer purchased Sundance’s products over the Internet,

 by telephone, or through traditional mail, since January 1, 2004 Sundance has not

 required the consumer to read or affirmatively agree to any terms of service, privacy

 policy, or information-sharing policy before making their purchase. Consequently,

 Sundance has uniformly failed to provide the notice required by Utah Code Ann.


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 13-37-201 to – much less obtained any form of consent from – any of its customers

 before they made purchases on Sundance’s website or by mail or phone (or before

 it disclosed their Private Purchase Information to third parties for compensation).

       102. Thus, during the applicable statutory period, Sundance disclosed all of

 its customers’ Private Purchase Information for compensation, to various third

 parties, without providing advance notice of these practices to its customers.

       103. By and through these actions, Sundance has disclosed to third parties

 its customers’ Private Purchase Information for compensation in direct violation of

 the NISNPIA.

                        CLASS ACTION ALLEGATIONS

       104. Plaintiffs seek to represent a class defined as all persons in the United

 States who, at any point during the applicable statutory period, had their Private

 Purchase Information, obtained by Sundance on or after January 1, 2004 as a result

 of a consumer transaction, disclosed to a third party by Sundance (the “Class”).

 Excluded from the Class is any entity in which Sundance has a controlling interest,

 officers or directors of Sundance, and any person whose only consumer

 transaction(s) with Sundance since January 1, 2004 occurred at one or more of

 Sundance’s retail brick-and-mortar stores.

       105. Members of the Class are so numerous that their individual joinder

 herein is impracticable. The members of the Class number in at least the hundreds

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 of thousands. The precise number of Class members and their identities are unknown

 to Plaintiffs at this time but may be determined through discovery. Class members

 may be notified of the pendency of this action by mail and/or publication through

 the distribution records of Sundance.

       106. Common questions of law and fact exist as to all Class members and

 predominate over questions affecting only individual Class members. Common legal

 and factual questions include, but are not limited to: (a) whether Sundance is a

 “commercial entity” within the meaning of the NISNPIA; (b) whether Sundance

 provided the notice required by the NISNPIA to Plaintiffs and Class members before

 they entered into consumer transactions with Sundance; (c) whether Sundance

 obtained Plaintiffs’ and Class members’ Private Purchase Information as a result of

 consumer transactions, and whether such information constitutes “nonpublic

 personal information” within the meaning of the NISNPIA; (d) whether Sundance

 disclosed Plaintiffs’ and Class members’ Private Purchase Information to a third

 party for compensation; and (e) whether Sundance’s disclosures of Plaintiffs’ and

 the Class’s Private Purchase Information to third parties violated the NISNPIA.

       107. The claims of the named Plaintiffs are typical of the claims of the Class

 in that the named Plaintiffs and the Class suffered invasions of their statutorily

 protected right to privacy (as afforded by the NISNPIA), as well as instrusions upon

 their private affairs and concerns that would be highly offensive to a reasonable

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 person, as a result of Sundance’s uniform wrongful conduct in intentionally

 disclosing their Private Purchase Information to third parties for compensation.

        108. Plaintiffs are adequate representatives of the Class because their

 interests do not conflict with the interests of the Class members they seek to

 represent, they have retained competent counsel experienced in prosecuting class

 actions, and they intend to prosecute this action vigorously. The interests of Class

 members will be fairly and adequately protected by Plaintiffs and their counsel.

        109. The class mechanism is superior to other available means for the fair

 and efficient adjudication of the claims of Class members. Each individual Class

 member may lack the resources to undergo the burden and expense of individual

 prosecution of the complex and extensive litigation necessary to establish

 Sundance’s liability. Individualized litigation increases the delay and expense to all

 parties and multiplies the burden on the judicial system presented by the complex

 legal and factual issues of this case. Individualized litigation also presents a potential

 for inconsistent or contradictory judgments. In contrast, the class action device

 presents far fewer management difficulties and provides the benefits of single

 adjudication, economy of scale, and comprehensive supervision by a single court on

 the issue of Sundance’s liability. Class treatment of the liability issues will ensure

 that all claims and claimants are before this Court for consistent adjudication of the

 liability issues.

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                                CAUSE OF ACTION
                      Violation of Utah’s Notice of Intent to Sell
                        Nonpublic Personal Information Act
                              (Utah Code Ann. § 13-37)

        110. Plaintiffs repeat the allegations contained in the foregoing paragraphs

 as if fully set forth herein.

        111. Plaintiffs bring this claim individually and on behalf of the members of

 the Class against Sundance.

        112. Sundance maintains its headquarters and principal place of business in

 Utah, and in the ordinary course of business transacts in consumer transactions in

 Utah. Accordingly, Sundance is a “commercial entity” within the meaning of the

 NISNPIA. See Utah Code Ann. § 13-37-102(2)(a).

        113. On or after January 1, 2004, Plaintiffs purchased consumer products,

 constituting “tangible” or “intangible” property, from Sundance on its

 sundancecatalog.com website.

        114.    Each of Sundance’s sales of tangible and/or intangible property to

 Plaintiffs (and each of the Class members) was completed in Utah, where at all

 relevant times Sundance was headquartered and principally did business and the

 location from which Sundance uniformly shipped to Plaintiffs and the members of

 the Class the tangible and/or intangible property that they had purchased.

 Accordingly, Sundance entered into one or more “consumer transaction” with each

 of the Plaintiffs and Class members within the meaning of the NISNPIA. See id. §

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 13-37-102(4)(a)(i).

       115.    As a result of such consumer transactions, Sundance obtained

 information pertaining to Plaintiffs and Class members that Plaintiffs and Class

 members provided at Sundance’s request, and which Sundance would not otherwise

 have obtained but for entering into such consumer transactions with Plaintiffs and

 Class members. See id. § 13-37-201(1)(b). This information, referred to herein as

 Plaintiffs’ and Class members’ Private Purchase Information, included Plaintiffs’

 and Class members’ “purchasing habits” and “personal preferences” within the

 meaning of the NISNPIA.

       116. At various times during the applicable statutory period, Sundance

 intentionally disclosed Plaintiffs’ Private Purchase Information, which identified

 them as purchasers of Sundance’s products, to various third parties for

 compensation.

       117. Sundance disclosed customer lists containing the Private Purchase

 Information of all of its customers, including that of each of the Plaintiffs and Class

 members, to data aggregators and data appenders, who then supplemented the

 customer lists with additional sensitive information from their own databases, before

 sending the customer lists back to Sundance. The “enhanced” customer lists that

 Sundance received back from the data aggregators and data appenders were more

 valuable to Sundance than its original customer lists, because the lists that were


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 “enhanced” with the additional information about each customer could be sold or

 rented by Sundance to third parties for more money. In this way, Sundance was able

 to increase its profits gained from its sales, rentals, and other compensation-driven

 disclosures of its customer lists.

       118. Sundance also rented, sold, and/or otherwise disclosed for

 compensation its customer lists containing all of the Plaintiffs’ and Class members’

 Private Purchase Information—including lists enhanced with the additional personal

 and demographic information from data aggregators and appenders—to

 innumerable other third parties, including other consumer-facing companies,

 aggressive direct-mail advertisers, organizations soliciting monetary contributions,

 volunteer work, and votes, and others.

       119. Sundance made each disclosure of Plaintiffs’ Private Purchase

 Information, to each of the entities described in the preceding paragraphs, for

 compensation – namely, money.

       120. The Private Purchase Information Sundance disclosed indicates

 Plaintiffs’ and Class members’ names and addresses, as well as the fact that they

 purchased Sundance’s products, the type of products they purchased, and the dollar

 amounts of their purchases, which was information not otherwise in the public

 domain. See id. § 13-37-102(5). Because the records or information disclosed by

 Sundance reveal Plaintiffs’ and Class members’ “purchasing patterns” and “personal

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 preferences,” and “identif[y] [Plaintiffs and Class members] in distinction from

 other persons,” the records or information Sundance disclosed to third parties

 constitute “nonpublic personal information” within the meaning of the NISNPIA.

 See id. § 13-37-102(5).

       121. At no time before entering into a consumer transaction with Sundance

 or providing Sundance with their Private Purchase Information did any of the

 Plaintiffs or members of the Class receive the notice required by Utah Code Ann. §

 13-37-201. Specifically, prior to entering into consumer transactions with Plaintiffs

 and the members of the Class and obtaining Plaintiffs’ and Class members’ Private

 Purchase Information, Sundance uniformly failed to provide any of the Plaintiffs or

 members of the Class with a clear and conspicuous notice in dark bold writing (or

 orally), such that a reasonable person would perceive the notice, stating that “[w]e

 may choose to disclose nonpublic personal information about you, the consumer, to

 a third party for compensation.” Id. § 13-37-201(3)(a).

       122. Plaintiffs and the members of the Class never otherwise consented to

 Sundance disclosing their Private Purchase Information to anyone.

       123. Sundance’s undisclosed, nonconsensual disclosures of all of its

 customers’ Private Purchase Information intruded substantially upon the solitude

 and seclusion (including the personal affairs and concerns) of each of the Plaintiffs

 and Class members, in a way that was highly offensive to Plaintiffs and would be

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 highly offensive to a reasonable person, including members of the Class.

       124. Sundance’s disclosures of Plaintiffs’ and the Class members’ Private

 Purchase Information were not made to third parties in “relat[ion] to the third

 part[ies] providing to [Sundance] . . . services, including business outsource

 services[,] personal or real property[,] or other thing[s] of value,” and the

 “compensation received by [Sundance] as part of the transaction[s] [with third

 parties] [was not] received by [Sundance] for or in consideration of” such “third

 part[ies] providing to [Sundance] [such] services, . . . personal or real property[,] or

 other thing[s] of value.” Id. § 13-37-201(5).

       125. Sundance is not “subject to a federal law or regulation that governs the

 disclosure of nonpublic information to a third party,” nor is Sundance “a covered

 entity as defined in 45 C.F.R. Parts 160 and 164.” See Utah Code Ann. § 13-37-

 201(4).

       126.    By disclosing Plaintiffs’ and Class members’ Private Purchase

 Information to third parties for compensation, without having provided prior notice

 to Plaintiffs or Class members as required by Utah Code Ann. § 13-37-201,

 Sundance violated Plaintiffs’ and Class members’ statutorily protected right to

 privacy in their nonpublic personal information pertaining to their consumer

 transactions, as afforded by the NISNPIA. See id. § 13-37-202(1) (“A commercial

 entity may not disclose nonpublic personal information that the commercial entity


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 obtained on or after January 1, 2004, as a result of a consumer transaction if the

 commercial entity fails to comply with Section 13-37-201.”).

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

 situated, seek a judgment against Sundance as follows:

              A.     For an order certifying the Class under Rule 23 of the
                     Federal Rules of Civil Procedure and naming Plaintiffs as
                     representatives of the Class and Plaintiffs’ attorneys as
                     Class Counsel to represent the Class;

              B.     For an order declaring that Sundance’s conduct as
                     described herein violated Utah’s Notice of Intent to Sell
                     Non-Public Information Act;

              C.     For an order finding in favor of Plaintiffs and the Class on
                     all counts asserted herein;

              D.     For an award of $500.00 to each of the Plaintiffs and each
                     Class member, as provided by the NISNPIA, Utah Code
                     Ann. § 13-37-203(2)(a);

              E.     For prejudgment interest on all amounts awarded; and

              F.     For an order awarding reasonable attorneys’ fees and costs
                     to counsel for Plaintiffs and the Class pursuant to Rule 23
                     and Utah Code Ann. § 13-37-203(2)(b).

                                  JURY DEMAND

       Plaintiffs demand a trial by jury on all causes of action and issues so triable.




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 Dated: June 5, 2024                Respectfully submitted,

                                    PETERS ❘ SCOFIELD
                                    A Professional Corporation


                                    /s/ David W. Scofield
                                    DAVID W. SCOFIELD

                                           -and-

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                                      41
